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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ARCADIA BIOSCIENCES, INC.,                         ' . ,
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     Plaintiff,                                       18-cv-8059 (JSR)

          -v-                                      OPINION AND ORDER

VILMORIN & CIE, LIMAGRAIN CEREALES
INGREDIENTS SA, and ARISTA CEREAL
TECHNOLOGIES PTY LIMITED,

     Defendants.
-----------------------------------x
JED S. RAKOFF, U.S.D.J.

     Contrary to popular superstition, there is no such thing as

"natural" wheat, as farmers have been selectively breeding this

staple since Neolithic times. But something of a race is now on

to see who can develop genetically modified wheat with health

benefits and commercial advantages. The instant case, arising

from that competition, involves an international patent dispute

over just such modified wheat. Specifically, plaintiff Arcadia

Biosciences, Inc.   ("Arcadia") alleges that it invented a kind of

genetically modified wheat that has various health benefits and

that, in the hope of fostering its commercial development, it

shared this invention with defendants - who also develop

agricultural products - in a series of meetings that were

protected by a nondisclosure agreement. Defendants then

allegedly used the information Arcadia shared, in violation of


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the nondisclosure agreement, to file three patents and develop

other product lines. Arcadia now brings federal patent claims

for correction of inventorship, as well as a welter of state

contract and tort claims.

      On September 4, 2018, Arcadia filed its initial complaint

against defendants Vilmorin & Cie ("Vilmorin"), Limagrain

C~r~ales   Ingr~dients   SA ("LCI"), and Arista Cereal Technologies

Pty Limited ("Arista"). ECF No. 1. On October 17, Arista moved

to dismiss Arcadia's complaint for lack of personal

jurisdiction, lack of subject matter jurisdiction, and failure

to state a claim. ECF No. 23. On the same day, Vilmorin and LCI

moved jointly to dismiss Arcadia's complaint for failure to

state a claim. ECF No. 27. On October 26, Arcadia filed its

First Amended Complaint ("FAC"), ECF No. 33, and on November 5,

defendants filed supplemental briefs in support of their motions

to dismiss, ECF Nos. 36, 37, which Arcadia opposed, ECF Nos. 40,

42.

      After receiving full briefing from the respective parties,

the Court held oral argument on January 7, 2019. Thereafter,

upon careful consideration, the Court issued a "bottom-line"

Order on January 11. ECF No. 53. The Order granted Arista's

motion to dismiss for lack of personal jurisdiction, and it

dismissed all of Arcadia's claims against Arista without


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prejudice. The Order also granted Vilmorin and LCI's motion to

dismiss for failure to state a claim, and it dismissed all of

Arcadia's claims against Vilmorin and LCI with prejudice. This

Opinion sets forth the reasons for the Court's rulings and

directs the Clerk of Court to enter final judgment dismissing

the FAC.

                                         Background

     The following factual allegations are taken from the FAC

and any documents incorporated there by reference. They are

viewed in the light most favorable to Arcadia:

     Arcadia is a Delaware corporation with its principal place

of business in California. FAC              ~   2, ECF No. 33. "Arcadia's

business is the development of agricultural products, including

crops with enhanced productivity and quality traits." Id.

Defendant Vilmorin is a French company that, among other things,

is "involved, either directly or indirectly through its

affiliates[,] in .                 . researching, developing, and breeding

plants." Id.       ~       41. Defendant LCI is a French company that, along

with Vilmorin, is a wholly owned subsidiary of Groupe Limagrain

Holding SA. Id.             ~   4. Defendant Arista is an Australian joint

venture that was formed in 2006 by LCI and two Australian

entities. Id.          ~    5. At present, LCI has a majority interest in

Arista. Id.    ~       6.


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     In 2006, scientists at Arcadia began researching and

developing a high amylose wheat technology. Id.           ~       13. Amylose is

one of two components of starch that - along with amylopectin

is present in the endosperm of wheat grains. Id.              ~    22. Amylose

is digested more slowly than amylopectin, thereby giving rise to

various health benefits. Id.     ~~   22-23. To promote these

benefits, scientists at·Arcadia conceived of, and reduced to

practice, genetic mutations of wheat grain with high amylose-to-

amylopectin ratios. See id.     ~~    37-38.

     Specifically, Arcadia's scientists caused mutations in a

bread wheat gene called the SBEIIa gene, which produces a

protein product that helps form amylopectin. Id.              ~    35. Bread

wheat has three genomes - A, B, and D -            each of which has an

SBEIIa gene       SBEIIa-A, SBEIIa-B, and SBEIIa-D - with two

copies. Id.   ~   34. By mutating each copy of the SBEIIa-A, SBEIIa-

B, and SBEIIa-D genes so that they lost their protein-producing

function, Arcadia was able to reduce the amount of amylopectin

produced in the grain's endosperm, thereby increasing the

amylose-to-amylopectin ratio. Id.          ~~   35-36.

     On November 13, 2009 - after it had reduced its invention

to practice - Arcadia entered into a Confidentiality and

Nondisclosure Agreement     ("NOA") with Vilmorin to promote

potential collaborative opportunities between the parties. The


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NDA is binding on both Vilmorin and its "affiliates," where

"affiliates" is defined to include "any existing or future

corporation, firm,    limited liability company, partnership, or

other entity that directly or indirectly controls, or is

controlled by, or is under common control with" Vilmorin. NDA

§§   1.1, 3.5, ECF No. 29, Ex. 1. Over the course of several

years, and under the protections of the NDA, Arcadia shared

details of its high amylase wheat technology with Vilmorin and

LCI employees, including Elisabeth Marie-Anne Ida Chanliaud, who

was employed by Vilmorin or LCI but is described in the FAC as

an "Arista Project Manager." FAC '11'1! 14, 55.

       Between 2011 and 2013, Arista filed three U.S. patent

applications that later issued as patents. Id. '11 15. The first

application, the '884 Application, was filed on November 4, 2011

and issued on June 23, 2015 as a patent - the '533 Patent -

entitled "High Amylase Wheat." Id. The second application, the

'177 Application, was filed on November 2, 2012 and issued on

June 7, 2016 as a patent - the '722 Patent - entitled "High

Amylase Wheat-II." Id. The third application, the '456

Application, was filed on August 6, 2013 and issued on March 7,

2017 as a patent      the '413 Patent - entitled "Food Ingredients

Produced from High Amylase Wheat." Id. All three patents were

assigned to Arista and were issued to Ahmed Regina, Pierre


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Georges Louis Berbezy, Elisabeth Marie-Anne Ida Chanliaud,

Bernard Duperrier, and Matthew Kennedy Morell. Id.

          Arcadia alleges that some of the information it disclosed

under the protections of the NDA is claimed in Arista's patents.

Id.   ~    59. Arcadia also alleges that other information it

disclosed under the protections of the NDA, while not claimed in

Arista's patents, is nevertheless likely being misused and

misappropriated by defendants.            Id. According to Arcadia, Arista

made clear in a provisional patent application filed on November

4, 2010 -      the '288 Provisional -      that it had been unable to

obtain a viable version of the mutated wheat grain that Arcadia

had succeeded in developing. Id.           ~   61. Arcadia alleges that

Arista was able to overcome its failures only because of the

confidential information that Arcadia disclosed to defendants.

Id.

          By filing Arista's patent applications, Arcadia alleges,

defendants breached their obligations under the NDA.              Id.   ~   88.

Furthermore, Arcadia alleges, by obtaining Arista's patents in

violation of Arcadia's rights, and by using those improperly

obtained patents, defendants have unfairly competed against and

interfered with Arcadia. Id.          ~   92. As a result, Arcadia alleges,

"Defendants have injured and tarnished Arcadia's business,




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      Case 1:18-cv-08059-JSR Document 60 Filed 01/28/19 Page 7 of 52



reputation, brand, and goodwill, and thereby have undermined and

damaged Arcadia's business through improper conduct." Id.            ~   96.

     On September 4, 2018, Arcadia filed its initial complaint

against Arista, Vilmorin, and LCI, ECF No. 1, and on October 26,

Arcadia filed the FAC, ECF No. 33. In the FAC, Arcadia brings

federal patent claims against Arista for correction of

inventorship of the '533, '722, and '413 Patents. FAC           ~~   102-10,

175-83. Arcadia also brings state law claims against all

defendants for breach of contract, breach of the implied

covenant of good faith and fair dealing, unfair competition,

misappropriation of confidential information, unjust enrichment,

conversion, and tortious interference. Id.       ~~   111-74.

     On October 17, Arista moved to dismiss Arcadia's initial

compliant for lack of personal jurisdiction, lack of subject

matter jurisdiction, and failure to state a claim. ECF No. 23.

On the same day, Vilmorin and LCI jointly moved to dismiss for

failure to state a claim. ECF No. 27. On November 5 - after

Arcadia filed the FAC - the defendants filed supplemental letter

briefs in support of their motions to dismiss. ECF Nos. 36, 37.

Arcadia opposed. ECF Nos. 40, 42. For the following reasons,

Arista's motion to dismiss for lack of personal jurisdiction is




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granted,   1   as is Vilmorin and LCI's motion to dismiss for failure

to state a claim.

                                 Discussion

I.     Arista's Motion to Dismiss for Lack of Personal

       Jurisdiction

       Arista moves to dismiss the FAC under Rule 12 (b) (2) of the

Federal Rules of Civil Procedure. "On a Rule 12 (b) (2) motion,

plaintiff carries the burden of demonstrating that jurisdiction

exists, and where the district court did not conduct a full-

blown evidentiary hearing on a motion, the plaintiff need make

only a prima facie showing of jurisdiction." Penachio v.

Benedict, 461 F. App'x 4, 5 (2d Cir. 2012) . 2 In deciding a Rule

12(b) (2) motion, the Court will "construe the pleadings and

affidavits in the light most favorable to [the plaintiff],

resolving all doubts in [its] favor." Distefano v. Carozzi N.

Am.,   Inc., 286 F.3d 81, 84     (2d Cir. 2001).

       In patent cases, district courts tend to apply Federal

Circuit law when deciding questions of personal jurisdiction.




1 Because the Court finds that it lacks personal jurisdiction
over Arista, it does not address Arista's motions to dismiss for
lack of subject matter jurisdiction and failure to state a
claim.

2 Unless otherwise indicated, in quoting cases all internal
quotation marks, alterations, emphases, footnotes, and citations
are omitted.
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See, e.g., RegenLab USA LLC v. Estar Techs. Ltd., 335 F. Supp.

3d 526, 535-36 (S.D.N.Y. 2018); Rates Tech. Inc. v. Broadvox

Holding Co., LLC, No. 13 Civ. 0152        (SAS), 2014 WL 46538, at *l

(S.D.N.Y. Jan. 6, 2014). However, "[t]he test for personal

jurisdiction under the law of the Federal Circuit mirrors that

of the one employed by the Court of Appeals for the Second

Circuit." JetBlue Airways Corp. v. Helferich Patent Licensing,

LLC,   960 F. Supp. 2d 383, 390 (E.D.N.Y. 2013). Under the law of

both circuits, a court, in cases involving a non-consenting,

out-of-state defendant, must ask first whether the defendant is

subject to the forum state's long-arm statute, and second

whether the exercise of personal jurisdiction would comport with

due process. Hildebrand v. Steck Mfg. Co., 279 F.3d 1351, 1354

(Fed. Cir. 2002).

       Arcadia alleges that the Court has jurisdiction over Arista

on the sole basis that the NDA between Arcadia and Vilmorin

contains a mandatory New York forum selection clause. FAC           ~   11;

NDA § 7 ("Any legal action which may be brought to enforce any

provision of this Agreement, or which may arise from or be

related to this Agreement, shall be brought in a state or

federal court of competent jurisdiction in the State of New

York."). But Arista is not a party to the NDA. Nevertheless,

Arcadia argues that Arista is bound by the forum selection


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clause because the NDA provides that "all [Vilmorin's]

Affiliates shall be deemed to have assented to the terms and

conditions of this Agreement notwithstanding the lack of any

additional written agreement to that effect." NDA         §   3.5.

      As noted above, the term "affiliate" is defined as "any

existing or future corporation, firm,       limited liability company,

partnership, or other entity that directly or indirectly

controls, or is controlled by, or is under common control with a

Party to this Agreement." Id.     §   1.1. "Control," in turn, is

defined as:

      [O]wnership, directly or through one or more Affiliates,
      of fifty percent (50%) (or such lesser percentage which
      is the maximum allowed to be owned by a foreign entity
      in a particular jurisdiction) or more of the shares of
      stock entitled to vote for the election of directors in
      the case of a corporation, or fifty percent (50%) (or
      such lesser percentage which is the maximum allowed to
      be   owned  by  a   foreign   entity  in   a  particular
      jurisdiction) or more of the equity interests in the
      case of any other type of legal entity, or status as a
      general partner in any partnership,       or any other
      arrangement whereby a Party controls or has the right to
      control the board of directors or equivalent governing
      body of a corporation or other entity.

Id.

      It is undisputed that Groupe Limagrain Holding SA owns a

majority of the stock of both Vilmorin and LCI. See Corporate

Disclosure Statement Pursuant to Federal Rule of Civil Procedure

7.1 of Defendants Vilmorin & Cie and Limagrain Cereales

Ingredients SA, ECF No. 20. It is also undisputed that LCI came
                                      10
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to own a majority of the stock of Arista in 2017. See

Declaration of Eric Vaschalde in Support of Defendant Arista

Cereal Technologies Pty Limited's Motion to Dismiss the

Complaint Pursuant to Rules 12 (b) ( 1) , 12 (b) ( 2) and 12 (b) ( 6)

("Vaschalde Deel."), ECF No. 26, at i       2. Accordingly, Arcadia

argues, Vilmorin and Arista came under common control at least

as early as 2017, and Arista thereby came to be an affiliate

bound by the NDA, including the forum selection clause.

Plaintiff's Memorandum of Law in Opposition to Arista Cereal

Technologies Pty Limited's Motion to Dismiss for Lack of

Personal Jurisdiction under Fed.R.Civ. P. 12 (b) (2), Lack of

Subject Matter Jurisdiction under Fed.R.Civ.P. 12(b) (1), and

Failure State a Claim under Fed.R.Civ.P. 12(b) (6), at 3-5

("Arcadia A-Opp."), ECF No. 40.3

     Arcadia is undoubtedly correct that the NDA, by its terms,

purports to bind not just existing affiliates, but also entities

that become affiliates of Vilmorin's in the future. NDA           §§    1.1,




3 Arcadia has also suggested that Arista became an "affiliate" of
Vilmorin's earlier than 2017 because LCI has maintained a
"substantial continuous ownership interest" in Arista and
therefore might have "control[led] or ha[d] the right to
control" Arista prior to 2017. Arcadia A-Opp. 6. But the terms
of the NDA make clear that LCI would have had to "control[] or
ha[ve] the right to control [Arista's] board of directors or
equivalent governing body" in order to make Arista an affiliate
of Vilmorin's, NDA § 1.1, and Arcadia has made no showing, not
even a prima facie showing, to this effect.
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3.5. The Court must determine, however, whether the enforcement

of the NDA's forum selection clause against a party that was not

an affiliate of the parties to the NDA at the time it was signed

comports with New York contract law (which governs the NDA) and

federal due process. The Court holds that it does not.

        Beginning with New York contract law, it is axiomatic that

"[a] contract cannot bind a non-party unless the contract was

signed by the party's agent, the contract was assigned to the

party, or the signatory is in fact the 'alter ego' of the

party." Glob.     Entm't~   Inc. v. New York Tel. Co., No. 00 Civ.

2959 (SHS), 2000 WL 1672327, at *7         (S.D.N.Y. Nov.   6, 2000). Even

where an "agreement purport[s] to bind successors and assigns of

the parties to the agreement, an assignee or successor will not

be bound to the terms of a contract absent an affirmative

assumption of the duties under the contract." Amalgamated

Transit Union Local 1181, AFL-CIO v. City of New York, 846

N.Y.S.2d 336, 338      (2nd Dep't 2007); see Todd v. Krolick, 466

N.Y.S.2d 788, 789 (3rd Dep't 1983), aff'd, 466 N.E.2d 149 (N.Y.

1984)    ("Even though the subject contract purports to bind any

successors to the property, it is clear that the assignee of

rights under a bilateral contract is not obligated to perform




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the duties under the contract unless he expressly assumes to do

so. ") . 4

       Here, Arcadia has made no allegations that Vilmorin acted

as Arista's agent or alter ego when signing the NDA. Nor has

Arcadia alleged that Vilmorin assigned the NDA to Arista,            let

alone that Arista affirmatively assumed the NDA's duties.

Instead, Arcadia has cited several cases for the proposition

that contracting parties can bind future affiliates,

notwithstanding the rule against binding non-parties. The two

such cases with the greatest bearing on the Court's analysis are

VKK Corp. v. National Football League, 244 F.3d 114 (2d Cir.

2001), and Ellington v. EMI Music, Inc., 21 N.E.3d 1000 (N.Y.

2014) .

        In VKK, the owners of the New England Patriots brought an

antitrust suit against the NFL and other defendants for

allegedly preventing plaintiffs from relocating the Patriots




4 There are exceptions to the rule that a party cannot bind its
successor, but none of them is relevant here, as Arista is not
Vilmorin's successor. See Am. Buying Ins. Servs., Inc. v. S.
Kornreich & Sons, Inc., 944 F. Supp. 240, 249 (S.D.N.Y. 1996)
("In general, successor liability will lie when: (1) there is an
express or implied agreement to assume the other company's debts
and obligations; (2) the transaction was fraudulent; (3) there
was a de facto merger or consolidation of the companies; or (4)
the purchasing company was a mere continuation of the selling
company.").

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outside of New England. 5 244 F.3d at 118. The district court

granted summary judgment for defendants on the grounds that

plaintiffs had signed a release of all claims against

defendants. Id. at 121. As relevant here, the release stated

that plaintiffs:

     hereby release and forever discharge the National
     Football League, its officers, directors, ... employees,
     subsidiaries,   affiliates,    partners,   predecessors,
     principals, heirs, executors, administrators, trustees,
     beneficiaries, agents, successors, and assigns, and each
     Member Club of the National Football League         their
     officers,   directors        subsidiaries,    affiliates,
     partners, predecessors, principals, heirs, executors,
     administrators,    trustees,    beneficiaries,    agents,
     successors, and assigns ... of and from any and all past
     or present or, if based, in whole or in part, on facts,
     actions, claims or matters existing or occurring from
     the beginning of the world to the date of this Release,
     future claims.

Id. at 130.

     The Second Circuit vacated the grant of summary judgment in

part, holding that two of the defendants - entities involved in

starting the Jacksonville Jaguars 6    -   had not been members of the

NFL at the time plaintiffs signed the release, and therefore




5 It seems apparent that, while New Englanders may love their
Patriots, the team's ownership is more concerned with profits
than with loyalty to their fans. As any former fan of the
Brooklyn Dodgers will recognize, this is fully in keeping with
the American spirit of free enterprise.

6 Whether the good citizens of Jacksonville have any deep-seated
loyalty to a team that has never made it to the Superbowl is a
question beyond the scope of this Opinion.
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were subject to suit. Id. The court explained that nothing in

the release language above indicated an intent to release future

member clubs, and that "[t]he NFL and its member clubs are

sophisticated commercial actors who could have specifically

referred to future member clubs had they intended to include

them in the Release." Id.

     As should be evident from this brief summary, VKK has no

bearing on the instant case. The court did not hold that any

non-parties were bound by the release. Nor did the court hold

that non-parties could be bound by the release. Instead, the

court held that plaintiffs were not bound by the release and

could accordingly bring suit against non-parties. The court also

stated that plaintiffs could have bound themselves such that

they were precluded from bringing suit against non-parties. But

again, this would have been an obligation that was binding on

plaintiffs, not on the non-parties.

     Ellington is similarly unhelpful to Arcadia's position. In

that case, the heir of jazz legend Duke Ellington 7 brought an

action against defendant EMI Music, Inc. for royalties allegedly

due under a copyright renewal agreement. 21 N.E.3d at 1001.

Under the agreement, Ellington and certain family members were




7This Court candidly admits that it has a greater love for Duke
Ellington than for any NFL team.
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designated as the "First Parties," while EMI's predecessor in

interest, Mills Music, Inc., "and any other affiliate of Mills

Music, Inc.," were designated as the "Second Party." Id. The

agreement gave the Second Party the right to renew the copyright

for certain compositions by Ellington, but it also "require[d]

the Second Party to pay the First Parties a sum equal to fifty

(50%) percent of the net revenue actually received by the Second

Party from foreign publication of the relevant musical

compositions." Id. at 1002.

      After the agreement was executed, EMI became affiliated

with foreign subpublishers that retained 50% of the royalties

generated from foreign sales, and EMI remitted half of the other

50% (25% of the total royalties) to the First Parties. Id.

Plaintiff sued for breach of contract and fraudulent

concealment, arguing that EMI should be required to remit 50% of

the total royalties generated from foreign sales by its

affiliated foreign subpublishers, not just 50% of the half that

EMI received from the foreign subpublishers. Id.

     The New York Supreme Court granted EMI's motion to dismiss,

and the Appellate Division and Court of Appeals affirmed. Id. at

1002-03, 1005. First, the Court of Appeals held that the

language of the agreement required EMI to remit only "net

revenue actually received         . from foreign publication,"


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whereas "the percentage retained by the affiliated foreign

subpublishers is not an amount actually received by EMI." Id. at

1004.

        Next, the court rejected the argument that the affiliated

foreign subpublishers were members of the "Second Party" because

they fell within the definition of "any other affiliate of Mills

Music, Inc." Id. "Absent explicit language demonstrating the

parties' intent to bind future affiliates of the contracting

parties," the court stated, "the term 'affiliate' includes only

those affiliates in existence at the time that the contract was

executed." Id.     (citing VKK, 244 F. 3d at 130-131) . "If the

parties intended to bind future affiliates," the court

continued, "they would have included language expressing that

intent. Absent such language, the named entities and other

affiliated companies of EMI's predecessor which existed at the

time are bound by the provision, not entities that affiliated

with EMT after execution of the Agreement." Id.

        At oral argument in the instant case, counsel for Arcadia

cited the above language from Ellington to support its

conclusion that Arista was bound to the NDA as a future

affiliate. See Transcript dated January 7, 2019 at 9:20-11:9.

But the better reading of the Ellington court's statements is

that "explicit language demonstrating the parties' intent" was


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necessary to bind future affiliates, not that it was sufficient.

As discussed above, there are cases in which parties can bind

non-parties to a contract, such as when the parties are agents

of the non-parties. It seems clear that the court in Ellington

was contemplating such cases, rather than introducing a new rule

of contract law that would give contracting parties broad

discretion to bind non-parties.    Indeed, in explaining why EMI's

predecessor did not include language in the agreement that would

have bound future affiliates, the trial court stated that the

predecessor "could not represent that [it] had the authority to

bind entities that did not yet exist or were not yet affiliated

with" it. Ellington v. EMI Music, Inc., 939 N.Y.S.2d 740, 2011

WL 4907781, at *5 (N.Y. Sup. Ct. 2011). As there is no evidence

that Arcadia had the authority to bind Arista to the NOA,

Ellington has no bearing on this case. 8

     Arcadia's fallback position is that, even if the above

decisions   (and others cited by Arcadia 9 ) do not support the



s Another reason that Ellington has no bearing on this case is
that the plaintiff in Ellington sought to enforce the agreement
only against EMI, not against the foreign subpublishers. In the
instant case, by contrast, Arcadia seeks to enforce the NOA
against Arista.

9 Arcadia also cites Wellington Shields & Co. v. Breakwater Inv.
Mgmt. LLC, No. 14-cv-7529 (RJS), 2016 WL 5414979 (S.O.N.Y. Mar.
18, 2016), Georgia Malone & Co. v. E & M Assocs., 81 N.Y.S.3d
387 (1st Dep't 2018), and Credit Index, L.L.C. v. RiskWise

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general enforcement of contracts against future affiliates, a

separate line of cases authorizes the enforcement of forum

selection clauses against non-signatories. In the Second

Circuit, this line started with Aguas Lenders Recovery Group v.

Suez, S.A., in which the court held that, "for the purposes of

the doctrine of forum non conveniens, a non-signatory to an

agreement may be bound by a forum selection clause and forum non

conveniens waiver contained in contracts entered into by an

entity alleged to be a predecessor in interest." 585 F.3d 696,

697 (2d Cir. 2009). Notably, the court in Aguas assumed that the

defendant - against which enforcement was sought - was bound by

"successorship doctrine" 10 to its predecessor's contractual

obligations. "[I]f successorship doctrine binds a non-signatory

to the obligations of a contract," the court reasoned, "such a




Int'l, L.L.C., 746 N.Y.S.2d 885 (N.Y. Sup. Ct. 2002). None of
these cases supports Arcadia's position. Wellington Shields,
like Ellington, stated only that it was necessary for
contracting parties to expressly indicate their intent to bind
future affiliates, not that it was sufficient for them to do so.
2016 WL 5414979, at *6. Similarly, Georgia Malone held only that
it was ambiguous whether the contracting parties there had
intended to bind future affiliates. 81 N.Y.S.3d at 394-96. And
Credit Index is inapposite because it involved a non-party that
was aware of the contract at issue and then wholly acquired one
of the contracting parties. 746 N.Y.S.2d at 887-89.

1o Although the court did not define "successorship doctrine," it
appears to have contemplated those situations discussed in
footnote 4 above. See 585 F.3d at 701 (citing United States v.
Mexico Feed & Seed Co., 980 F.2d 478, 487 (8th Cir. 1992)).
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non-signatory/successor is .       . subject to the .

presumption of the enforceability of mandatory forum selection

clauses." Id. at 700-01. The court stated that it saw "no reason

to treat forum selection provisions differently from other

contractual obligations," and it noted "ample support for the

conclusion that the fact a party is a non-signatory to an

agreement is insufficient, standing alone, to preclude

enforcement of a forum selection clause." Id. at 701         (collecting

cases) .

      Clearly, Aguas stands for the narrow proposition that a

non-signatory can be bound by forum selection provisions to the

same extent that it can otherwise be bound to a contract under

standard principles of contract law. But, as discussed above,

Arcadia has failed to show how Arista can be bound to the NDA

under such principles. However, the Aguas court also cited with

approval several decisions from other circuits (and not

involving New York law) addressing additional situations in

which forum selection clauses may be enforced against non-

signatories. As relevant here, the Ninth Circuit in TAAG Linhas

Aereas de Angola v. Transamerica Airlines,        Inc. held that

defendants could enforce a forum selection clause against a non-

signatory plaintiff who was a third-party beneficiary to a

contract. 915 F.2d 1351, 1354-55 (9th Cir. 1990). And the Eighth


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Circuit in Marano Enterprises of Kansas v. Z-Teca Restaurants,

L.P. held that defendants could enforce a forum selection clause

against a non-signatory plaintiff who was "'closely related' to

the disputes arising out of the agreements." 254 F.3d 753, 757

(8th Cir. 2001). A non-signatory was determined to be "closely

related," in turn, if it was "foreseeable that it [would] be

bound" to a forum selection clause. Id.

      That a forum selection clause can be enforced against a

non-signatory plaintiff who is a third-party beneficiary is

consistent with the general "law of contracts, which has long

recognized that third-party beneficiary status does not permit

the avoidance of contractual provisions otherwise enforceable."

Coastal Steel Corp. v. Tilghman Wheelabrator Ltd., 709 F.2d 190,

203 (3d Cir. 1983), overruled on other grounds by Lauro Lines

s.r.l. v. Chasser, 490 U.S. 495 (1989). Similar logic may

justify the enforcement of forum selection clauses against

"closely related" non-signatory plaintiffs, as these parties'

interests are often "completely derivative of those of the

[signatory] plaintiffs - and thus directly related to,         if not

predicated upon the interests of the [signatory] plaintiffs."

Lipcon v. Underwriters at Lloyd's, London, 148 F.3d 1285, 1299

(11th Cir. 1998).




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    Some lower courts, however, have extended the above line of

cases and held that forum selection clauses can be enforced

against "closely related" non-signatory defendants, even where

those defendants object to the exercise of personal

jurisdiction. See, e.g., LaRoss Partners, LLC v. Contact 911

Inc., 874 F. Supp. 2d 147, 154-61 (E.D.N.Y. 2012); Metro-

Goldwyn-Mayer Studios Inc. v. Canal & Distribution S.A.S., No.

07 Civ. 2918    (DAB), 2010 WL 537583, at *4-5 (S.D.N.Y. Feb. 9,

2010). This Court is not persuaded to follow suit.

     Aguas, after all - and the cases cited therein - involved

motions to dismiss based on grounds of improper venue and forum

non conveniens, not motions to dismiss for lack of personal

jurisdiction. The rules governing the former class of motions

are driven primarily by concerns for the "convenience of

litigants and witnesses," Denver & R. G. W. R. Co. v. Bhd. of R.

R. Trainmen, 387 U.S. 556, 560 (1967), as well as by a range of

"private and public interests," Figueiredo Ferraz E Engenharia

de Projeto Ltda. v. Republic of Peru, 665 F.3d 384, 389 (2d Cir.

2011). Accordingly, these motions require courts to weigh

multiple factors and - particularly in the case of the doctrine

of forum non conveniens - "retain flexibility." Piper Aircraft

Co. v. Reyno,    454 U.S. 235, 249 (1981).




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    The rules governing personal jurisdiction, by contrast, are

driven by constitutional concerns over "the court's power to

exercise control over the parties." Leroy v. Great W. United

Corp., 443 U.S. 173, 180 (1979). Although the personal

jurisdiction inquiry is not mechanical, it is constrained in

ways that the venue inquiry is not. Most notably, a plaintiff

must make a baseline showing that the defendant has "certain

minimum contacts with [the forum]        such that the maintenance of

the suit does not offend traditional notions of fair play and

substantial justice." Int'l Shoe Co. v. Washington, 326 U.S.

310, 316 (1945). Regardless of the convenience to the parties or

the private and public interests at stake, a court cannot

exercise personal jurisdiction unless "the defendant

purposefully avails itself of the privilege of conducting

activities within the forum State, thus invoking the benefits

and protections of its laws." Hanson v. Denckla, 357 U.S. 235,

253 (1958).

     These constitutional requirements caution against a liberal

application of forum selection clauses to non-signatory

defendants. In cases following Aguas, the application of forum

selection clauses to non-signatories has been justified by

various policy benefits, including "the contribution that such

clauses have been praised for making to certainty in commercial


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transactions," "the salutary effect of dispelling any confusion

about where suits arising from the contract must be brought and

defended," the promotion of "vital interests of the justice

system, including judicial economy and efficiency," and the

guarantee "that parties will not be required to defend lawsuits

in far-flung fora." Magi XXI,    Inc. v. State della Citta del

Vaticano, 714 F.3d 714, 722 (2d Cir. 2013)      .11   But although these

benefits may be salutary, a court cannot consider them without

first determining whether the exercise of jurisdiction over the

defendant comports with due process.

     As noted above, due process requires that a defendant have

"minimum contacts" with the forum state. "In judging minimum

contacts, a court properly focuses on the relationship among the

defendant, the forum, and the litigation." Calder v. Jones, 465

U.S. 783, 788   (1984). "[T]he relationship must arise out of

contacts that the defendant himself creates with the forum

State," not "contacts between the plaintiff (or third parties)

and the forum State." Walden v. Fiore, 571 U.S. 277, 284          (2014).

     Here, Arcadia has shown no connection between Arista and

New York. Arista is an Australian joint venture that was formed
                                                                       '~



11 In Magi, the Second Circuit held that "a non-signatory to a
contract containing a forum selection clause may enforce the
forum selection clause against a signatory when the non-
signatory is 'closely related' to another signatory." 714 F.3d
at 723 (emphasis added).
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by LCI - a French company - and two Australian entities. FAC

~   5. It has no offices, employees, or bank accounts in New York,

has entered into no pre-litigation contracts in New York, and

has never sold any products in New York. Vaschalde Deel.           ~~    3-4.

The only "contact" Arcadia has established is a 2009 NOA that

was signed by a company whose sister company became a majority

owner of Arista's stock eight years later, in 2017. This is too

thin a reed on which to rest the Court's exercise of personal

jurisdiction.

       As a final point, even if the Court were less hesitant to

enforce forum selection clauses against "closely related" non-

signa tory defendants, it would hold that enforcement against

Arista is unwarranted here. As noted above, a non-signatory is

"closely related" to a signatory if "enforcement of the forum

selection clause is foreseeable by virtue of the relationship

between the signatory and the [non-signatory] sought to be

bound." Metro-Goldwyn-Mayer Studios Inc., 2010 WL 537583, at *5.

But Arcadia has made no showing that enforcement of the NDA's

forum selection clause was foreseeable in light of Arista's

relationship with Vilmorin. Arcadia has not even made a showing

that Arista was aware of the forum selection clause. To the

contrary, Arcadia and Arista entered into a separate

confidentiality agreement - governed by Australian law - that


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covered similar subject matter over a similar time period to the

NDA between Arcadia and Vilmorin. Vaschalde Deel.         ~   8. Given

these facts,   it seems implausible that Arista would have

foreseen enforcement of the NDA's forum selection clause.12

      For the foregoing reasons, Arista's motion to dismiss for

lack of personal jurisdiction is granted, and all claims against

Arista are dismissed without prejudice to being reinstated in a

forum that can exercise personal jurisdiction over Arista.

II.   Vilmorin and LCI's Motion to Dismiss for Failure to State a

      Claim

      Vilmorin and LCI move to dismiss the FAC under Rule

12(b) (6) of the Federal Rules of Civil Procedure. To survive a

motion to dismiss under Rule 12(b) (6), a plaintiff must "state a

claim to relief that is plausible on its face." Ashcroft v.

Iqbal, 556 U.S. 662, 678     (2009). "A claim has facial

plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged." Id. When

adjudicating a motion to dismiss, the Court "accept[s] all

factual allegations in the complaint and draw[s] all reasonable



12 Furthermore, as this Court explained in Miller v. Mercuria
Energy Trading, Inc., non-signatories are less likely to be
"closely related" to signatories where their connection - like
Vilmorin and Arista's - is horizontal rather than vertical. 291
F. Supp. 3d 509, 524 (S.D.N.Y. 2018).
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inferences in the plaintiff's favor." ATSI Cormnc'ns, Inc. v.

Shaar Fund, Ltd., 493 F.3d 87, 98         (2d Cir. 2007).

      Arcadia brings claims against Vilmorin and LCI for breach

of contract, breach of the implied covenant of good faith and

fair dealing, unfair competition, misappropriation of

confidential information, unjust enrichment, conversion, and

tortious interference. FAC     ~~   111-74. For the reasons discussed

below, the Court holds that each of these claims is either time

barred or insufficiently pled. Accordingly, the Court will grant

Vilmorin and LCI's motion to dismiss the FAC with prejudice.

      A. Breach of Contract

      "To state a claim in federal court for breach of contract

under New York law, a complaint need only allege (1) the

existence of an agreement,     (2) adequate performance of the

contract by the plaintiff,      (3) breach of contract by the

defendant, and (4) damages." Harsco Corp. v. Segui, 91 F.3d 337,

348   (2d Cir. 1996). Here, Arcadia alleges that Vilmorin and LCI

breached the NDA through "the taking, misuse and disclosure of"

confidential information related to Arcadia's high amylose wheat

invention. FAC   ~   114. Under the NDA, "a receiving Party shall

not disclose to any third party except as expressly provided

herein Confidential Information received hereunder, and shall

not use Confidential Information received hereunder except for


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the Purpose identified above." NOA§ 3.1. The Purpose, in turn,

is defined in Recital C of the NOA as "discussions regarding a

potential strategic business relationship between [Vilmorin and

Arcadia], the scope of which may ultimately include technical

and/or financial due diligence by one or both Parties."

     Arcadia alleges that defendants have breached the NOA in

two ways. First, Arcadia alleges, defendants misused and

disclosed confidential information by claiming it in Arista's

patents. FAC   ~   52. Second, Arcadia alleges, even outside of

Arista's patents, defendants have misused and disclosed

confidential information in order "to support and further the

launch of Defendants' commercial products." Id.       ~   115.

     Defendants respond that Arcadia's breach of contract claim

is time barred. Memorandum of Law in Support of Defendants

Vilmorin & Cie and Limagrain Cereales Ingredients SA's Motion to

Dismiss 8-13 ("VL MTD"), ECF No. 28. Under New York's borrowing

statute, defendants argue, Arcadia's claims must be timely under

both the six-year limitations periods imposed by New York (the

forum state) and the four-year limitations period imposed by

California (Arcadia's principal place of business, where the

cause of action accrued). Id. at 9; see N.Y. C.P.L.R. 202 ("An

action based upon a cause of action accruing without the state

cannot be commenced after the expiration of the time limited by


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the laws of either the state or the place without the state

where the cause of action accrued .          ."). Given that

Arcadia's breach of contract claim is untimely under either

state's limitations period, defendants argue, the claim must be

dismissed. VL MTD 12-13.

     As a preliminary matter, Arcadia argues that New York's

statute of limitations, not its borrowing statute, applies

because the NDA specifies that it "shall be governed by and

construed in accordance with the laws of New York, without

giving effect to the principles of conflict of laws."

Plaintiff's Memorandum of Law in Opposition to Vilmorin & Cie's

and Limagrain Cereales Ingredients SA's Motion to Dismiss

Complaint 11 ("Arcadia VL-Opp."), ECF No. 42. Arcadia argues

that "there is, at a minimum, a question of fact as to whether

the parties intended CPLR § 202 to apply to actions brought to

enforce the NDA Agreement since there is a discrepancy between

the application of New York statutes of limitations pursuant to

New York law and application of the borrowing statute." Id.

     The Court disagrees with Arcadia that there is a question

of fact as to the parties' intent. As the New York Court of

Appeals has repeatedly stated, "the best evidence of what

parties to a written agreement intend is what they say in their

writing." 2138747 Ontario,    Inc. v. Samsung C & T Corp., 103


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N.E.3d 774, 777   (N.Y. 2018). Here, the parties agreed that the

NDA would "be governed by and construed in accordance with the

laws of New York." NDA § 7. And the laws of New York include New

York's borrowing statute.

      It is true that the NDA's choice-of-law provision also

states that the NDA will be governed and construed "without

giving effect to the principles of conflict of laws." Id. But as

the Court of Appeals has recently explained, there is "a

'significant difference' between .         . common-law conflicts

principles and a statute of limitations issue governed by the

CPLR, including CPLR 202." 2138747 Ontario, 103 N.E.3d at 779.

Indeed, "CPLR 202 is in derogation of the long-standing common-

law conflicts principle that the law of the forum applies to

procedural issues such as the statute of limitations." Id.

      More generally, recent Court of Appeals decisions make

clear that the question of whether to give effect to conflict-

of-laws principles when evaluating a choice-of-law provision

bears primarily on the substantive law that a court applies, not

the procedural law. See id. at 380; Ministers & Missionaries

Ben. Bd. v. Snow, 45 N.E.3d 917, 920-21 (N.Y. 2015); IRB-Brasil

Resseguros, S.A. v. Inepar Investments, S.A., 982 N.E.2d 609,

612   (N.Y. 2012). And there is no question that "CPLR 202 is an




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abiding part of New York's procedural law." 2138747 Ontario, 103

N.E.3d at 777.

      Accordingly,   in order for Arcadia's breach of contract

claim to be timely under New York's borrowing statute, it must

be timely under both New York's and California's statutes of

limitations. Under California law, a claim for breach of

contract must be brought within four years. Cal. Civ. Proc. Code

§   337(a). Furthermore, "[a] cause of action for breach of

contract accrues at the time of the breach of contract, and the

statute of limitations begins to run at that time regardless of

whether any damage is apparent or whether the injured party is

aware of his right to sue." Perez-Encinas v. AmerUs Life Ins.

Co., 468 F. Supp. 2d 1127, 1134 (N.D. Cal. 2006). However,

"[u]nder the 'discovery rule' recognized by California courts, a

cause of action accrues when the plaintiff discovers or could

have discovered, through the exercise of reasonable diligence,

all of the facts essential to his cause of action." Id.

       Here, defendants argue that Arcadia knew or should have

known about defendants' alleged breach when Arista's patent

applications were published. VL MTD 12-13. As such, defendants

argue, the latest Arcadia's cause of action could have accrued

was February 13, 2014, when Arista's third patent application

was published. Id. at 13. Given that Arcadia filed suit over


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four years later, on September 4, 2018, their breach of contract

claim is barred under California law, and thus under New York's

borrowing statute. Id.

      Arcadia responds that its claim is timely, even under

California's statute of limitations, because "the FAC alleges

breaches of the NDA .       . as recently as 2018." Arcadia VL-Opp.

4. As noted above, Arcadia alleges that defendants have breached

the NOA both by misusing and disclosing confidential information

claimed in Arista's patents, FAC      ~   52, and by misusing and

disclosing other confidential information "to support and

further the launch of Defendants' commercial products," id.

~   115. Arcadia argues that this latter category of misuse and

disclosure occurred within the statute of limitations, but that

because "details on exactly when Defendants misused the specific

technical information disclosed by Arcadia is only known to

Defendants        . factual disputes as to the date of accrual

exist, and          discovery is necessary." Arcadia VL-Opp. 5.

       It would make a mockery of statutes of limitations,

however, if one could avoid them simply by speculating as to

what subsequent discovery might turn up. Here, the FAC does not

offer a single non-conclusory example of how defendants misused

and disclosed confidential information that was not claimed in

Arista's patents. Furthermore, when pressed at oral argument for


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specifics, Arcadia's counsel was unable to provide any.

Transcript dated January 7, 2019 at 28:23-33:8. The FAC does

purport to define the kinds of confidential information that

were shared with defendants but were not claimed in Arista's

patents. FAC   ~   59. But when it comes to defendants' alleged

misuse and disclosure of this information, the FAC says only

that "Arcadia believes that Defendants are            . misusing and

misappropriating this .         information for Defendant's business

activities," and that "[r]eview of Defendants' internal research

and development records, which will be the subject of discovery

in this action, will be necessary to determine the full scope

and timing of these additional misuses." Id. This is a classic

fishing expedition, and it is insufficient to place defendants'

alleged conduct within California's statute of limitations.

     Because Arcadia's breach of contract claim is untimely

under California law, it is also untimely under New York's

borrowing statute. Furthermore, even if New York's statute of

limitations applied, Arcadia's claim would be barred. "New York

has a six-year statute of limitations for breach-of-contract

claims," and "[t]he limitations period begins to run when the

cause of action accrues." Marvel Worldwide, Inc. v. Kirby, 756

F. Supp. 2d 461, 470 (S.D.N.Y. 2010). "A breach-of-contract




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cause of action accrues and the limitations period begins to run

when the breach occurs." Id.

     Here, Arcadia alleges that "Defendants breached their non-

use obligations under the NOA .         . by no earlier than when the

Arista Patent Applications were filed." FAC       ~   88. As described

above, Arista's '884 Application, '177 Application, and '456

Application were filed on November 4, 2011, November 2, 2012,

and August 6, 2013, respectively. Id.      ~   15. If the filing of

each of these applications started a new six-year limitations

period, then breach of contract claims associated with the

filing of the '177 and '456 Applications would be timely, as

these applications were filed within six years of the complaint.

     However, as defendants argue, each of these applications

was preceded by a provisional or Patent Cooperation Treaty

("PCT") application filed outside the statute of limitations:

the '177 Application was preceded by provisional applications

filed on November 4, 2011 and May 10, 2012, and the '456

Application was preceded by a provisional application filed on

November 4, 2010 and a PCT application filed on November 4,

2011. VL MTD 6. Defendants argue that any confidential

information allegedly misused or disclosed in preparing the

later applications was also allegedly misused or disclosed in

preparing the earlier applications, and that Arcadia's breach of


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contract claim accrued when defendants "first pursued [their]

patent applications." Id. at 10 (citing Ferring B.V. v.

Allergan, Inc., 932 F. Supp. 2d 493, 505 (S.D.N.Y. 2013))

        Arcadia responds that its breach of contract claim did not

accrue with the filing of the provisional and PCT applications

because one of the provisional applications in question - the

one filed on November 4, 2010 - did not reference "point

mutations," which are central to Arcadia's invention. Arcadia

VL-Opp. 12. Arcadia also argues that "a provisional patent

application only serves to establish a precursor for a priority

date,    [and] it alone cannot result in any patent rights." Id.

        But as defendants explain in their reply brief, the

provisional application filed on November 4, 2010 is only one of

four provisional and PCT applications that precede the '177 and

'456 Applications and that were filed outside the statute of

limitations. Reply Memorandum of Law in Further Support of

Defendants Vilmorin & Cie and Limagrain Cereales Ingredients

SA's Motion to Dismiss 4, ECF No. 47. These other applications

make myriad references to "point mutations," id., and Arcadia

has offered no other response to defendants' argument that any

confidential information allegedly misused or disclosed in

preparing the later applications was also allegedly misused or

disclosed in preparing these earlier applications. Furthermore,


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it is immaterial that the provisional and PCT applications did

not "result in any patent rights," Arcadia VL-Opp. 12, as the

relevant issue to Arcadia's breach of contract claim is whether

the filing of the applications involved the misuse or disclosure

of confidential information.

     For all of the foregoing reasons, the Court holds that

Arcadia's breach of contract claim is time barred. Accordingly,

the claim will be dismissed with prejudice.

     B. Breach of the Implied Covenant of Good Faith and Fair

       Dealing

     "Under New York law, parties to an express contract are

bound by an implied duty of good faith, but breach of that duty

is merely a breach of the underlying contract." Harris v.

Provident Life & Acc. Ins. Co.,     310 F.3d 73, 80    (2d Cir. 2002).

"A claim for breach of the implied covenant will be dismissed as

redundant where the conduct allegedly violating the implied

covenant is also the predicate for breach of covenant of an

express provision of the underlying contract." Id.

     Arcadia alleges that defendants breached the implied

covenant of good faith and fair dealing by,       inter alia, "(i)

taking and misusing the Arcadia Invention disclosed by Arcadia

to Defendants under the NDA Agreement;      (ii) prosecuting at least

the '177 Application and the '456 Application based on the


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Arcadia Invention; and (iii) working to develop commercial

products using Arcadia Confidential Information in violation of

Arcadia's rights." FAC     c:!I   121.

       As defendants explain in their motion to dismiss, Arcadia's

breach of implied covenant claim is time barred for the same

reasons as its breach of contract claim. VL MTD 12-13. Under

both California and New York law, the statutes of limitations

for breach of contract and breach of implied covenant are the

same. See Perez-Encinas, 468 F. Supp. 2d at 1133-34; V.E.C.

Corp. of Delaware v. Hilliard, 896 F. Supp. 2d 253, 259

(S.D.N.Y. 2012). And, as defendants note, the crux of both

"claims is that Defendants breached the 2009 NOA by improperly

using and disclosing information about the Arcadia Invention in

order to prepare and file patent applications in Arista's name."

VL MTD 10.

       Furthermore, even if the claim were not time barred, the

Court would dismiss it as duplicative. Under New York law, a

claim for breach of the implied covenant of good faith and fair

dealing "will be dismissed as redundant where the conduct

allegedly violating the implied covenant is also the predicate

for a claim for breach of covenant of an express provision of

the underlying contract." In re Houbigant Inc., 914 F. Supp.

964,   989   (S.D.N. Y. 1995).


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    Arcadia argues that its implied covenant claim "rest[s] on

conduct in addition to and outside of the obligations on which

the breach of contract claim is based." Arcadia VL-Opp. 16.

Specifically, Arcadia argues that certain alleged conduct, such

as defendants' "filing and prosecuting patent applications[,] is

not expressly addressed in the terms of the NOA." Id. at 17.

Instead, Arcadia argues, "under the implied covenant of good

faith and fair dealing, implied in terms of the NDA Agreement

would be an understanding that neither party to that agreement

should file and prosecute patent applications claiming

information disclosed by the other party." Id.

     The Court finds Arcadia's argument unpersuasive. Although

the NDA did not explicitly contemplate the filing and

prosecuting of patent applications, it prohibited the disclosure

of confidential information "except as expressly provided

herein," and it prohibited the use of confidential information

"except for the Purpose identified above." NDA       §   3.1. Neither of

these exceptions can reasonably be construed to allow for the

filing and prosecution of patent applications that rely on

confidential information shared among the parties. Accordingly,

the Court finds that the conduct underlying Arcadia's implied

covenant claim is the same as the conduct underlying its

contract claim.


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     For all these reasons, Arcadia's breach of implied covenant

claim will be dismissed with prejudice.

    C. Unjust Enrichment

     "The elements of unjust enrichment are that the defendants

were enriched, at the plaintiff's expense, and that it is

against equity and good conscience to permit the defendants to

retain what is sought to be recovered." Cty. of Nassau v.

Expedia, Inc., 992 N.Y.S.2d 293, 296 (2nd Dep't 2014). Unjust

enrichment claims are "available only in unusual situations

when, though the defendant has not breached a contract nor

committed a recognized tort, circumstances create an equitable

obligation running from the defendant to the plaintiff."

Corsello v. Verizon New York, Inc., 967 N.E.2d 1177, 1185 (N.Y.

2012). "An unjust enrichment claim is not available where it

simply duplicates, or replaces, a conventional contract or tort

claim." Id. Accordingly, "[t]he existence of a valid and

enforceable written contract governing a particular subject

matter ordinarily precludes recovery in quasi contract for

events arising out of the same subject matter." Clark-

Fitzpatrick, Inc. v. Long Island R. Co., 516 N.E.2d 190, 193

(N.Y. 1987).

     Arcadia alleges that, "[w]hen the Arista Patents issued,

Defendants received a benefit from Arcadia in their improper


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taking, possession and use of the Arcadia Invention, which is

the property of Arcadia." FAC         ~   143. Similarly, Arcadia alleges

that, "[w]hen Defendants developed commercial products by taking

advantage [of] Arcadia Confidential Information, Defendants

received a benefit from Arcadia in their improper taking,

possession and use of the Arcadia Confidential Information,

which is the property of Arcadia." Id. Arcadia also alleges that

defendants "are using the Arcadia Confidential Information

disclosed to them under the NDA Agreement, not all of which is

incorporated into the claims of the Arista Patents, to further

their own commercial development and unfairly compete with

Arcadia, thereby gaining improper commercial advantage at the

expense of Arcadia and in violation of Arcadia's rights." Id.

~   144.

       Defendants respond, as they did in the context of Arcadia's

breach of implied covenant claim, that Arcadia's unjust

enrichment claim is both time barred and duplicative of its

breach of contract claim. VL MTD 8-13, 14-16. For substantially

the same reasons as those discussed above, the Court agrees on

both fronts. Accordingly, Arcadia's unjust enrichment claim will

be dismissed with prejudice.

       D. Misappropriation of Confidential Information




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      "To state a claim for misappropriation of confidential

information, a plaintiff must allege that the defendant used the

plaintiff's confidential information for the purpose of securing

a competitive advantage. Where the plaintiff and defendant are

both parties to a contract, the plaintiff must allege a breach

of a duty independent of the duties under the contract." Reed

Const. Data Inc. v. McGraw-Hill Companies, Inc., 745 F. Supp. 2d

343, 352      (S.D.N. Y. 2010).

      Arcadia alleges that defendants "are using the Arcadia

Confidential Information disclosed to them under the NDA

Agreement, not all of which is incorporated into the claims of

the Arista Patents, to further their own commercial development

and unfairly compete with Arcadia, thereby gaining improper

commercial advantage at the expense of Arcadia and in violation

of Arcadia's rights." FAC         ~   132. For example, Arcadia alleges,

"Defendants' use and disclosure of that information through

their filing of at least the utility patent applications leading

to the '722 Patent and the '413 Patent breached their duty of

confidentiality arising out of their relationship with Arcadia."

Id.   ~   137. In addition, Arcadia alleges "[u]pon information and

belief" that "Defendants have also misappropriated Arcadia

Confidential Information disclosed under the NDA Agreement that

is not specifically claimed in the Arista Patents." Id.


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     Defendants argue that Arcadia's misappropriation claim -

like the claims above - is both time barred and duplicative.

With respect to the statute of limitations, defendants argue

that the claim is time barred because "misappropriation claims

must be brought within three years of when the        defendan~


discloses the trade secret or when he first makes use of the

plaintiff's ideas." Ferring, 4 F. Supp. 3d at 628. Given

Arcadia's allegation that defendants misappropriated its

confidential information "through their filing of at least the

utility patent applications leading to the '722 Patent and the

'413 Patent," FAC   ~   137, and given that the last of these

applications was filed in 2013, defendants argue that the

statute of limitations ran in 2016, VL MTD 17.

     Defendants also argue that Arcadia's misappropriation claim

is duplicative of its breach of contract claim. Id. Under New

York law, defendants argue, repackaging contract claims as tort

claims is "generally precluded, unless based on a duty

independent of the contract." Bancorp Servs., LLC v. Am. Gen.

Life Ins. Co., No. 14-cv-9687     (VEC), 2016 WL 4916969, at *9

(S.D.N.Y. Feb. 11, 2016). Here, defendants argue, Arcadia has

alleged no duty of confidentiality independent of the

contractual duties imposed by the NDA. VL MTD 18.




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    With respect to defendants' argument that Arcadia's claim

is time barred, Arcadia responds that its misappropriation claim

is "based on Defendants' misuse of the Arcadia Invention and

Arcadia Confidential Information to gain an improper commercial

advantage at the expense of Arcadia and in violation of

Arcadia's rights." Arcadia VL-Opp. 14. Arcadia argues that

"[t]his conduct occurred as recently as 2018 when Defendants,

among other things,   interfered with Arcadia's anticipated

business relationship with Bay State Milling and through

Defendants' public statements and business activities." Id.

     And with respect to defendants' argument about duplication,

Arcadia responds that its "misappropriation claim is not

duplicative of its breach of contract claim because it alleges

that Defendants have taken affirmative steps beyond the

requirements of the contract to harm Arcadia." Id. at 21. By

misusing Arcadia's confidential information for their own

commercial advantage, Arcadia argues, defendants violated a

"duty of confidentiality to Arcadia, which arose because of the

relationship between the parties and Defendants' knowledge as to

the source of that information." Id. at 22.

     As above, the Court finds Arcadia's responses unpersuasive.

With respect to the statute of limitations issue, the Court has

already determined that Arcadia has not adequately alleged


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misuse of confidential information outside of the filing of

Arista's patents. The Bay State Milling allegation, which is

discussed below in the context of Arcadia's tortious

interference claim, does not change this conclusion. And with

respect to Arcadia's argument that defendants had an independent

duty of confidentiality, this duty is exactly the duty that was

codified in the NDA. Any allegations of misappropriation are

thus duplicative of Arcadia's breach of contract claim.

     Given that it is both duplicative and time barred,

Arcadia's misappropriation claim will be dismissed with

prejudice.

     E. Unfair Competition

     "The essence of unfair competition under New York common

law is the bad faith misappropriation of the labors and

expenditures -0f another, likely to cause confusion or to deceive

purchasers as to the origin of the goods." Jeffrey Milstein,

Inc. v. Greger, Lawlor, Roth, Inc., 58 F.3d 27, 34         (2d Cir.

1995). "In a common law unfair competition claim under New York

law, the plaintiff must show either actual confusion in an

action for damages or a likelihood of confusion for equitable

relief." Id. at 35. "Additionally, there must be some showing of

bad faith." Id.




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        Arcadia alleges that defendants have unfairly competed by

"misrepresenting themselves as the sole inventors and the sole

owners of the Arcadia Invention," and by "improperly using the

Arcadia Invention and Arcadia Confidential Information

communicated to Defendants in violation of Arcadia's rights."

FAC   <JI   125. For example, Arcadia alleges that defendants "are

actively seeking to dissuade commercial partners from doing

business with Arcadia," id., and are causing "industry and

consumer confusion by misrepresenting themselves as the

inventors and owners of the inventions claimed in the Arista

Patents and through developing products taking advantage of

Arcadia Confidential Information disclosed under the NDA," id.

qr 127.

            The parties' arguments regarding Arcadia's unfair

competition claim largely mirror those regarding Arcadia's

misappropriation claim. As relevant here, defendants argue that

the three-year statute of limitations on Arcadia's unfair

competition claim has run. VL MTD 19; see Norbrook Labs. Ltd. v.

G.C. Hanford Mfg. Co., 126 F. App'x 507, 509 (2d Cir. 2005)

("The statute of limitations for an unfair competition claim

based on misappropriation of another's labors or expenditures is

three years."). Arcadia responds that its unfair competition




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claim is timely for the same reasons as its misappropriation

claim. Arcadia VL-Opp. 14-15.

     As in the case of Arcadia's misappropriation claim, the

Court agrees with defendants that Arcadia's unfair competition

claim is time barred. Accordingly, the unfair competition claim

will be dismissed with prejudice.

     F. Conversion

     Under New York law, "conversion takes place when someone,

intentionally and without authority, assumes or exercises

control over personal property belonging to someone else,

interfering with that person's right of possession." Colavito v.

New York Organ Donor Network, Inc., 860 N.E.2d 713, 717          (N.Y.

2006). "Generally, only tangible property can be the subject of

a conversion action, but intangible rights can form the basis of

conversion damages when the converted property is a document

into which intangible rights have merged." Ancile Inv. Co. v.

Archer Daniels Midland Co., 784 F. Supp. 2d 296, 312 (S.D.N.Y.

2011) .

      Arcadia alleges that, "when the Arista Patents were

assigned in whole to Arista, Defendants converted Arcadia's

property." FAC <[ 151. Arcadia also alleges that defendants "are

using the Arcadia Confidential Information disclosed to them

under the NOA Agreement, not all of which is incorporated into


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the claims of the Arista Patents, to further their own

commercial development and unfairly compete with Arcadia,

thereby gaining improper commercial advantage at the expense of

Arcadia and in violation of Arcadia's rights." Id.          ~   154.

       Defendants make several arguments for dismissal. As

relevant here, defendants argue that Arcadia's "conversion claim

should be dismissed because it is premised upon the alleged

misuse of intangible property." VL MTD 22. In response, Arcadia

argues that electronic data can be the subject of a conversion

claim, see Thyroff v. Nationwide Mut. Ins. Co., 864 N.E.2d 1272,

1278   (N.Y. 2007), and that Arcadia's intellectual property can

therefore be the subject of a conversion claim because it "was

transmitted to [defendants]      in powerpoint presentations and

through detailed disclosures of technical information." See

Arcadia VL-Opp. 22-23.

       Arcadia is correct that "electronic records that [are]

stored on a computer and [are]       indistinguishable from printed

documents          [are] subject to a claim of conversion in New

York." Thyroff, 864 N.E.2d at 1278. However, as the courts in

Harris v. Coleman,     863 F. Supp. 2d 336 (S.D.N.Y. 2012), and

Grgurev v. Licul, 229 F. Supp. 3d 267        (S.D.N.Y. 2017), have

thoughtfully explained in the intellectual property context,




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there is a difference between an electronic record of an

intangible interest and the intangible interest itself.

     In Harris, the court considered a conversion counterclaim

based on allegations that the PTO's record of patent ownership

for a given patent had been transferred by a fraudulent

assignment document. 863 F. Supp. 2d at 344-45. The court noted

that intangible property was not traditionally subject to

conversion claims, but that New York courts had recently

"extended the tort of conversion to some intangible property

rights that are merged in, or identified with, some document or

relate to specifically identifiable money." Id. at 344. Because

defendant's counterclaim was for conversion of the PTO's record,

the court held that the counterclaim could proceed. Id. at 345.

The same conclusion would not have followed, however,         if the

counterclaim had been for the patentable idea itself.

     The court considered a similar issue in Grgurev and held

that misappropriation of a trademark could not support a

conversion claim under New York law. 229 F. Supp. 3d at 286-87.

The court acknowledged that "an action for conversion involving

intangible property may be sustained when,      in reality,    it

involves the misappropriation of tangible property that

manifests intangible intellectual property, such as .           . the

USPTO's record of patent ownership." Id. at 286 (citing Harris,


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863 F. Supp. 2d at 345). However, given that the trademark at

issue was "not tangible personal property, but rather [wa]s

intangible intellectual property having no existence apart from

the good will of the product or service it symbolize[d]," the

court held that its misappropriation could not ground a

conversion claim. Id. at 286-87.

     The Court finds the above cases to be persuasive and holds

that Arcadia cannot bring a claim for conversion of its

intellectual property. The instant case is not analogous to

Harris, as there is no allegation that a      (paper or electronic)

record of Arcadia's ownership was in some way misappropriated by

defendants. Accordingly, Arcadia's conversion claim is dismissed

with prejudice.

     G. Tortious Interference

     "Under New York law, recovery of damages for tortious

interference with prospective economic advantage must be based

on a factual showing that:    (i) the plaintiff had business

relations with a third party;     (ii) the defendants interfered

with those business relations;     (iii) the defendants acted for a

wrongful purpose or used dishonest, unfair, or improper means;

and (iv) the defendants' acts injured the relationship." Lombard

v. Booz-Allen & Hamilton, Inc., 280 F.3d 209, 214        (2d Cir.

2002).


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    Arcadia alleges that defendants "have improperly publicly

promoted their false and deceptive assertion of sole ownership

of the inventions claimed in one or more of the Arista Patents

(or aspects thereof) to discourage potential business partners

from working with Arcadia to develop, license, and/or launch

commercial products." FAC      ~       164. Furthermore, Arcadia alleges,

"Defendants have interfered with Arcadia's commercial relations

and prospective business advantage by using, among other things,

one of more of the issued Arista Patents to dissuade growers,

mills, and other development and commercial[] partners from

working with Arcadia." Id.         ~    167. Arcadia alleges specifically

that, "in 2018 Defendants interfered with Arcadia's efforts to

reach a commercial agreement with Bay State Milling," and that

"Arcadia had an opportunity and expectation of entering into an

agreement with Bay State Milling, but for this improper

interference." Id.   ~   95.

     Defendants argue that Arcadia's tortious interference claim

fails for several reasons. As relevant here, defendants argue

that Arcadia fails to allege that it "would have entered into an

economic relationship but for [Defendants'] wrongful conduct."

Vilmorin and LCI Supplemental Letter Brief 5, ECF No. 37

(quoting Knight-McConnell v. Cummins, No. 03 Civ. 5035 (NRB),

2004 WL 1713824, at *4 (S.D.N.Y. July 29, 2004)). Arcadia


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responds that it has adequately alleged causation because the

FAC alleges that "Arcadia had an opportunity and expectation of

entering into an agreement with Bay State Milling,,but for

[defendants'] improper interference." FAC       ~   95; Arcadia VL-

Opp. 24 n.8.

     The Court finds Arcadia's allegations inadequate. It is

true that Arcadia alleges that it "had an opportunity and

expectation of entering into an agreement with Bay State

Milling, but for [defendants'] improper interference." FAC            ~   95.

But even this allegation falls short of claiming that Arcadia

would have entered into a contract with Bay State Milling absent

defendants' interference. More important, Arcadia's allegation

is entirely conclusory, as the FAC provides no further factual

allegations to substantiate the assertion.

     Accordingly, the Court holds that Arcadia's tortious

interference claim is dismissed with prejudice.

                               Conclusion

     For the foregoing reasons, the Court hereby grants Arista's

motion to dismiss for lack of personal jurisdiction, and it also

grants Vilmorin and LCI's motion to dismiss for failure to state

a claim. All of Arcadia's claims against Arista are dismissed

without prejudice to refiling in a court that has jurisdiction




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over Arista, but all of Arcadia's claims against Vilmorin and

LCI are dismissed with prejudice.

     The Clerk is directed to close the entries at docket

numbers 23 and 27, and to enter final judgment dismissing the

First Amended Complaint.

     SO ORDERED.

Dated:       New York, NY
             January 25, 2019                   JED S. RAKOFF, U.S.D.J.




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